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VIA ECF December 28, 2023

The Honorable Robert Kirsch

U.S. District Court for the District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street

Trenton, NJ 08608

Re: After II Movie, LLC, et al. v. RCN Telecom Services, LLC, et al, No. 3:21-cv-15310-RK-RJB
Unopposed Request for Extension of Time

Dear Judge Kirsch,

This firm represents Defendants in the above-referenced matter. We write to request a 14-day extension of
time, from January 2, 2024 to January 16, 2024, to respond to Plaintiffs’ Appeal (ECF No. 77) of Magistrate
Judge Bongiovanni’s December 6, 2023 Order (ECF No. 76).

This deadline has not previously been extended. Plaintiffs do not oppose this request.

There is good cause for the requested extension. Plaintiffs filed their Appeal on December 20, 2023, and so
Defendants’ deadline to respond to the Appeal is currently January 2, 2023. See Civ. Rule 72.1(c)(1).
Considering the holiday schedules and related travel obligations of Defendants’ inside and outside counsel,
Defendants respectfully submit that additional time is warranted for their response, to allow counsel
sufficient time to prepare the response and confer with their client about it.

No party will be prejudiced by this extension; as stated above, Plaintiffs consent to Defendants’ request.
For these reasons, Defendants respectfully request that Defendants’ deadline to respond to Plaintiffs’
Appeal (ECF No. 77) of Magistrate Judge Bongiovanni’s December 6, 2023 Order be extended by 14 days,
from January 2, 2024 to January 16, 2024.

We have included a “So Ordered” provision at the end of this letter in the hope that this extension is
acceptable to the Court.

Respectfully Submitted,

/s/ Edward F. Behm, Jr.
Edward F. Behm, Jr.

Cc: All counsel of record via ECF

The above request for extension is SO ORDERED this Day of

The Honorable Robert Kirsch

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